      2:18-cv-10066-GCS-DRG           Doc # 1   Filed 01/08/18      Pg 1 of 17   Pg ID 1




                    IN THE UNITED STATE DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



MARK SELBY                                      Case No.
11040 Beach Street
Dexter, Michigan 48130

and                                             Judge

LINDA SELBY
11040 Beach Street
Dexter, Michigan 48130                          COMPLAINT WITH JURY DEMAND
                                                ENDORSED HEREON
      Plaintiffs,

vs.
                                                Zachary J. Murry (P73565)
ROVER PIPELINE, LLC,                            BARKAN & ROBON LTD.
Serve: CSC-Lawyers Incorporating                1701 Woodlands Drive
       Service (Company)                        Suite 100
       601 Abbot Road                           Maumee, Ohio 43537
       East Lansing, Michigan 48823             Phone: (419) 897-6500
                                                Fax: (419) 897-6200
and                                             zmurry@barkan-robon.com

ET ROVER PIPELINE, LLC                          Attorneys for Plaintiffs
Serve: CSC-Lawyers Incorporating
       Service (Company)
       601 Abbot Road
       East Lansing, Michigan 48823

and

PRECISION PIPELINE, LLC
Serve: CSC-Lawyers Incorporating
       Service
       601 Abbot Road
       East Lansing, Michigan 48823
      2:18-cv-10066-GCS-DRG           Doc # 1     Filed 01/08/18   Pg 2 of 17    Pg ID 2




and

JOHN DOE SUBCONTRACTORS A-Z
[Real Names and Addresses
Unknown]

       Defendants.



       Now come Plaintiffs, by and through undersigned counsel, and hereby file their

Complaint against Defendants Rover Pipeline, LLC, ET Rover Pipeline, LLC, Precision

Pipeline, LLC, and John Doe Subcontractors A-Z, and in support of their claims, do hereby state

and aver as follows:

                               PRELIMINARY STATEMENT

       1.     Plaintiffs are land owners and farmers owning and operating a blueberry farm in

Dexter, Washtenaw County, Michigan.

       2.     This action arises from Defendants Rover Pipeline, LLC’s, ET Rover Pipeline,

LLC’s, Precision Pipeline, LLC’s, and John Doe Subcontractors A-Z’s construction of the

interstate natural gas pipeline known as the “Rover Pipeline. The path of the pipeline traverses

western Washtenaw County, Michigan and, more specifically, crosses the property owned by the

Plaintiff for more than 2,500 feet in length. Defendant Rover Pipeline, LLC commenced federal

eminent domain proceedings against the Defendants and others in the U.S. District Court for the

Eastern District of Michigan on February 3, 2017, in the case captioned Rover Pipeline LLC v.

1.23 Acres of Land, More or Less, etc., et al., Case No. 2:17-cv-10365-MAG-MKM.

       3.     On Wednesday, March 8, 2017, the property owners reached a tentative

agreement whereby Rover Pipeline, LLC would be granted immediate possession of the

easements sought across Plaintiffs’ property in order to commence pipeline construction activity.



                                                -2-
       2:18-cv-10066-GCS-DRG           Doc # 1     Filed 01/08/18     Pg 3 of 17   Pg ID 3



All other issues in the federal litigation were reserved and no compensation has been agreed

upon to pay Plaintiffs. A copy of the March 8, 2017, of the Stipulated Order is attached hereto as

Exhibit 1.

       4.      The completion of the Rover Pipeline project promises to generate billions of

dollars in revenue for Rover Pipeline, LLC.

       5.      Plaintiffs have not received any compensation whatsoever from any of the

Defendants for giving up their property rights to Rover.

       6.      Following the commencement of construction activity on Plaintiffs’ property in

the Fall of 2017, Defendants Rover Pipeline, LLC, ET Rover Pipeline, LLC, Precision Pipeline,

LLC, and John Doe Subcontractors A-Z flagrantly abused any easement rights obtained through

the federal court proceeding and intentionally---and repeatedly---trespassed on the residue farm

property of the Plaintiffs by conducting operations well outside of any easement area obtained.

In this respect, Defendants have pumped water and waste material from the trenches Defendants

dug for the installation of the pipeline onto areas outside of easement area.

       7.      Defendants Rover Pipeline, LLC, ET Rover Pipeline, LLC, Precision Pipeline,

LLC, and John Doe Subcontractors A-Z have caused, and continue to cause, significant harm to

the Plaintiffs and their property. As such, Plaintiffs were left with little choice but to seek the

intervention of this Court.

                                            PARTIES

       8.      Plaintiffs Mark and Linda Selby are the record owners of certain real property

located within the confines of Washtenaw County, Michigan. Certain portions of their property

are subject to non-exclusive easements obtained by Defendant Rover Pipeline, LLC for the

construction of its interstate pipeline. Copies of diagrams showing the non-exclusive easements




                                                 -3-
       2:18-cv-10066-GCS-DRG            Doc # 1      Filed 01/08/18   Pg 4 of 17   Pg ID 4



obtained by Rover over the Plaintiffs’’ properties are annexed to the Stipulated Order attached

hereto as Exhibit 1.

        9.      Defendant Rover Pipeline, LLC, is a limited liability company formed under the

laws of the State of Delaware and is duly registered as a foreign limited liability company with

the Michigan Department of Licensing and Regulatory Affairs. Defendant Rover Pipeline,

LLC’s principal place of business is the State of Ohio. Upon information and belief, the

company’s primary business purpose is the construction of the interstate Rover Pipeline, a

substantial portion of which (internally identified by Rover as the “Market Segment”) is located

within the State of Michigan. Upon information and belief, at all times relevant hereto Rover

Pipeline, LLC was responsible for controlling, managing, supervising, and otherwise

directing all activities associated with the construction of the Rover Pipeline, inclusive of

those activities occurring within the confines of Washtenaw County, Michigan, along with the

activities causing substantial harm to Plaintiffs’ real estate.

        10.     Defendant ET Rover Pipeline, LLC, is a limited liability company formed under

the laws of the State of Delaware, is duly registered as a foreign limited liability company with

the Michigan Department of Licensing and Regulatory Affairs, and has its principal place of

business is the State of Ohio. Upon information and belief, the company’s primary business

purpose is the construction of the interstate Rover Pipeline, a substantial portion of which is

located within the State of Michigan. Upon information and belief, at all times relevant hereto

ET Rover Pipeline, LLC was responsible, along with Defendant Rover Pipeline, LLC, for

controlling, managing, supervising, and otherwise directing all activities associated with the

construction of the Rover Pipeline, inclusive of those activities occurring within the confines

of Washtenaw County, Michigan.




                                                  -4-
       2:18-cv-10066-GCS-DRG            Doc # 1     Filed 01/08/18      Pg 5 of 17     Pg ID 5



       11.     Defendant Precision Pipeline, LLC, is a limited liability company formed under

the laws of the State of Wisconsin and is duly registered as a foreign limited liability company

with the Michigan Department of Licensing and Regulatory Affairs. Upon information and

belief, at all relevant times herein alleged, Precision Pipeline, LLC was engaged by Defendant

Rover Pipeline, LLC to act as one of the primary contractors on the construction of the Rover

Pipeline and, along with all subsidiaries, agents, assigns, Defendant Precision Pipeline, LLC, was

responsible for the supervision, operation, and management of day-to-day construction activities

on the pipeline.

       12.     Defendants John Doe Subcontractors A-Z (fictitious-name designations of one or

more individuals, partnerships, corporations, and/or other entities whose actual identities have

yet to be determined) at all times relevant hereto were in the business of performing construction

or other work associated with the installation of the Rover Pipeline in Washtenaw County,

Michigan, and derived substantial revenue from these activities.

       13.     Defendants Rover Pipeline, LLC, ET Rover Pipeline, LLC, Precision Pipeline,

LLC, and John Doe Subcontractors A-Z shall be referred to herein individually by name or

jointly as “Defendants.”

       14.     At all times alleged herein, Defendants include and included any and all parents,

subsidiaries, affiliates, divisions, franchises, partners, joint venturers, and organizational units of

any kind, their predecessors, successors and assigns and their officers, directors, employees,

agents, representatives and any and all other persons acting on their behalf.

       15.     At all times herein mentioned, each of the Defendants was the agent, servant,

partner, predecessors in interest, aider and abettor, co-conspirator and joint venturer of each of




                                                  -5-
       2:18-cv-10066-GCS-DRG             Doc # 1     Filed 01/08/18     Pg 6 of 17      Pg ID 6



the remaining Defendants herein and was at all times operating and acting with the purpose and

scope of said agency, service, employment, partnership, conspiracy and joint venture.

                                   JURISDICTION AND VENUE

        16.       This Court has jurisdiction over all claims asserted herein pursuant to 28 U.S.C.

§1332(a)(1) in that Plaintiff and Defendants are citizens of different states and the matter in

controversy exceeds $75,000.00, exclusive of interests and costs.

        17.       Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(a)(1) because

a substantial portion of the acts and transactions constituting the basis for the claims alleged by

Plaintiffs in this Complaint occurred in this judicial district and Defendants conduct business

within this judicial district and receive, and will receive, substantial profits from said activity.

                                        FACTUAL ALLEGATIONS

        18.       Plaintiffs hereby incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

A.      The Rover Pipeline Project

        19.       A significant portion of the Rover Pipeline project, designated by the Defendant

Rover Pipeline, LLC as the “Market Segment”, is currently being constructed across Lenawee,

Washtenaw, and Livingston Counties.          Specifically, the current plans call for one (1) 42”

diameter, high pressure natural gas pipeline, to enter the State of Michigan near Morenci,

Lenawee County, and terminate in Livingston County where it will connect to existing pipeline

infrastructure.

        20.       In order to obtain right-of-way for its project, on February 3, 2017, Defendant

Rover Pipeline, LLC initiated appropriation proceedings against numerous Michigan property

owners, including the Plaintiffs, in the U.S. District Court for the Eastern District of Michigan in




                                                   -6-
       2:18-cv-10066-GCS-DRG            Doc # 1     Filed 01/08/18    Pg 7 of 17     Pg ID 7



the case captioned Rover Pipeline LLC v. 1.23 Acres of Land, More or Less, etc., et al., Case No.

2:17-cv-10365-MAG-MKM.

       21.      In regards to the Plaintiffs’ properties, Rover has sought the appropriation of a 50’

permanent non-exclusive easement as well as temporary easement space for use during

construction.

       22.      Upon information and belief, Rover is working to expeditiously complete its

pipeline project in order to “beat to market” a competing pipeline project known as the NEXUS

Pipeline.

       23.      To that end, almost immediately after obtaining non-exclusive easement rights to

the Plaintiffs’ properties, Defendants mobilized construction activities and began the installation

of the pipeline in both Ohio and Michigan.

       24.      Construction activity on Plaintiffs’ properties occurred from approximately

August 2017 through November 2017.

B.     Defendants’ Actions During Construction

       25.      During the time that Rover was engaged in active construction activity on

Plaintiffs’ Washtenaw County properties, from August 2017 through November 2017,

Defendants encountered rainfall and groundwater that resulted in a build-up of water in Rover’s

non-exclusive easement and dig sites.

       26.      In addition to this naturally occurring water, upon information and belief Rover

also may have caused water to build up in the non-exclusive easement areas through its

directional boring operations. Directional boring is the means by which Rover tunnels under

existing roadways in order to create a cavity for its pipeline.




                                                  -7-
       2:18-cv-10066-GCS-DRG            Doc # 1     Filed 01/08/18     Pg 8 of 17     Pg ID 8



          27.   Upon information and belief, lubricants utilized in the directional boring process

often consist of water, bentonite clay, and other chemicals, including petroleum and lithium-

based compounds.

          28.   In April 2017, during construction operations in Stark and Richland Counties in

Ohio, Rover reported spills of nearly 2 million gallons of directional boring lubricant, resulting

in violation notices from the Ohio EPA and causing irreparable harm to other property owners.

          29.   Confronted with water and, upon information and belief, other materials, in its

non-exclusive easement, Defendants faced several choices with regards to construction activities

on the Plaintiffs’ properties: they could wait for the ground to dry---an option regularly utilized

by contractors during construction projects; or they could de-water the easement area by

pumping the water into trucks and hauling it away.

          30.   Instead of using either of the two (2) options, Defendants ultimately chose a third

option.     Beginning on or about August 28, 2017, and continuing through approximately

November 10, 2017, Defendants de-watered the easement areas on Plaintiffs’ properties by

pumping the water and other liquid material outside of the easement area and onto the

Plaintiffs’ properties.

          31.   This action has resulted in significant flooding of the Plaintiffs’ properties, all of

which are currently utilized for commercial farming operations, including but not limited to the

farming of blueberries.

          32.   In addition, the soil type on Plaintiffs’ property consists largely of peat and muck

soils. Peat and muck soils are a type of organic soil that is formed from the decomposition of

plant materials in anaerobic conditions of thousands, or tens of thousands, of years. Upon




                                                  -8-
       2:18-cv-10066-GCS-DRG           Doc # 1     Filed 01/08/18    Pg 9 of 17    Pg ID 9



information and belief, natural processes require about 500 years to accumulate 30 cm of this

organic soil.

       33.      Because muck soil and peat consist of a large amount of organic material, this soil

type is vulnerable to sinking or degradation if not maintained through the use of appropriate

drainage. The addition of thousands of gallons of storm runoff onto Plaintiffs’ properties by the

Defendants has, as will be proven at trial, caused significant and possibly irreparable damage to

the soils thereon.

       34.      In de-watering its easement by pumping liquid onto Plaintiff’s properties,

Defendants have, upon information and belief placed their hoses and other materials outside of

the easement area, including the temporary easement areas, and physically upon the

Plaintiffs’ properties.

       35.      Upon observing Defendants’ actions, Plaintiffs objected to Defendants’ conduct.

However, and, in spite of Plaintiffs’ objections and refusal to authorize Defendants to flood their

properties, Defendants continued their conduct until at least October 29, 2017, with the resulting

flooding of Plaintiffs’ properties not abating until at least November 10, 2017.

       36.      Indeed, Defendants even went so far as to pump water from an adjacent property,

not owned by the Plaintiffs, onto Plaintiffs’ properties in order to de-water the easement area on

that adjacent parcel.

       37.      Rover’s conduct has resulted in damage to existing crops, including Plaintiffs’

blueberry bushes and has caused the unnecessary and entirely preventable degradation of

Plaintiffs’ soil, i.e. the growing medium for the farming operation by which Plaintiffs’ earn their

livelihood.




                                                 -9-
     2:18-cv-10066-GCS-DRG            Doc # 1    Filed 01/08/18      Pg 10 of 17     Pg ID 10



       38.     Defendants’ tortious conduct has and will result in the impairment of Plaintiffs’

crops, their ability to use their land, and the degradation of the soil thereon, all of which will

result in substantial economic damage to the Plaintiffs and will negatively impact the land for

generations.

       39.     In addition, to the extent that Rover has, upon information and belief,

contaminated Plaintiffs’ land with horizontal drilling lubricant or other materials, Plaintiffs’ have

suffered, and will continue to suffer incalculable harm to their property and their property rights.

                                             COUNT I
                                             Trespass

       40.     Plaintiffs hereby incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

       41.     The Defendants’ repeated dumping of storm and ground water and, upon

information and belief, fluids utilized in Defendants’ directional boring operations, onto the

properties of the Plaintiffs constitute unauthorized intentional acts by the Defendants.

Defendants have taken the attitude of “damn their torpedoes”, “damn the casualties”, and have

proceeded full steam ahead with their usurpation of Plaintiffs’ property rights regardless of

what the damages or consequences are to Plaintiffs’ rights and properties.

       42.     Furthermore, the Defendants, and each of them, either independently or through

the actions of their agents, affirmatively entered onto Plaintiffs’ properties in furtherance of the

commission of these unauthorized intentional acts and usurpation of authority granted by the

non-exclusive easements.

       43.     Defendants, and each of them, are therefore liable to each Plaintiff for their

trespass onto Plaintiffs’ respective real property in damages in an amount to be established at

trial in excess of Seventy-Five Thousand Dollars ($75,000.00).



                                                -10-
      2:18-cv-10066-GCS-DRG           Doc # 1     Filed 01/08/18    Pg 11 of 17    Pg ID 11



        44.     Furthermore, the Defendants’ actions as described herein were willful and

malicious in that the Defendants’ conduct was carried out with a conscious disregard for the

rights of Plaintiffs and thereby warrant an assessment of punitive damages to punish the

Defendants for their egregious misconduct.

                                            COUNT II
                                             Nuisance

        45.     Plaintiffs hereby incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

        46.     The Defendants, while having easement rights pursuant to the U.S. District Court

for the Eastern District of Michigan’s Order, nonetheless still owe a duty not to create a nuisance

on the Plaintiffs’ properties which interferes with the Plaintiffs’ use, possession, and enjoyment

of their respective property rights outside of the easement area.

        47.     By various culpable acts and omissions of the Defendants, and by other unlawful

uses of the easement area, including the negligent, reckless, and/or intentional maintenance of a

condition and the dumping of storm, ground water, and, upon information and belief, directional

drilling fluid, onto the Plaintiffs’ properties beginning in early August 2017, the Defendants have

caused and created, and are perpetuating, a condition that endangers and interferes with

Plaintiffs’ use, possession, and enjoyment of their legal rights.

        48.     Such acts, omissions, and uses described herein were of an unreasonable and/or

unlawful character and were, are, and continue to be, undertaken without the consent or authority

of the Plaintiffs.

        49.     The injuries and damage sustained by Plaintiffs’ and their real property are

separate and distinct from any injuries suffered by the public at large as a result of Defendants’

abuse of Rover Pipeline, LLC’s easement rights.



                                                -11-
     2:18-cv-10066-GCS-DRG            Doc # 1     Filed 01/08/18     Pg 12 of 17      Pg ID 12



       50.      As a direct and proximate result of the Defendants’ misconduct, the Plaintiffs, and

each of them, have suffered damages in an amount to be proven at trial in excess of Seventy-Five

Thousand Dollars ($75,000.00).

       51.      Furthermore, the Defendants’ actions as described herein were willful and

malicious in that the Defendants’ conduct was carried out with a conscious disregard for the

rights of Plaintiffs and thereby warrant an assessment of punitive damages to punish the

Defendants for their egregious misconduct.

                                          COUNT III
                                Negligence and Hazardous Waste

       52.      Plaintiffs hereby incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

       53.      In undertaking construction of the Rover Pipeline on easements running through

the properties of the Plaintiffs, the Defendants, and each of them, owed certain duties of care to

Plaintiffs including the duty to avoid undertaking actions that would damage Plaintiffs’ property

and the duty to avoid interfering with Plaintiffs’ right to the quite enjoyment of their property.

       54.      Defendants, and each of them, breached their duties owed to Plaintiffs in the

following ways:

             a. Pumping accumulated storm and ground water out of the easement area and

                dumping said water onto the property of the Plaintiffs;

             b. Upon information and belief, dumping fluid used as a lubricant utilized in

                directional boring operations and which contains bentonite and other materials

                potentially hazardous to the environment, onto the property of the Plaintiffs which

                could constitute hazardous waste;




                                                -12-
     2:18-cv-10066-GCS-DRG            Doc # 1     Filed 01/08/18      Pg 13 of 17     Pg ID 13



             c. Conducting construction operations outside the easement area and beyond the

                authority provided to Defendants pursuant to Rover Pipeline, LLC’s, Federal

                Energy Regulatory Commission Certificate of Public Necessity and Convenience;

                and

             d. Acting in a manner that was otherwise negligent, reckless, and/or evidencing a

                complete disregard for the property rights of the Plaintiffs.

       55.      As a direct and proximate result of the Defendants’ negligent conduct, the

Plaintiffs, and each of them, have suffered damages in an amount to be proven at trial in excess

of Seventy-Five Thousand Dollars ($75,000.00).

                                           COUNT IV
                               Tortious Interference with Business

       56.      Plaintiffs hereby incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

       57.      Plaintiffs’ properties are all presently utilized for agricultural purposes, including

use a blueberry farm.

       58.      These farming operations serve as the income source for the Plaintiffs.

       59.      At all relevant times herein alleged, Defendants had actual knowledge and/or

should have known that the Plaintiffs’ properties were utilized for a commercial and/or business

purpose.

       60.      Defendants, and each of them, negligently, recklessly, and/or intentionally

undertook action to tortuously interfere with Plaintiffs’ respective businesses. Specifically,

Defendants’ actions in flooding Plaintiffs’ properties have substantially impeded and/or

negatively impacted Plaintiffs’ abilities to utilize their respective properties for their intended




                                                -13-
     2:18-cv-10066-GCS-DRG            Doc # 1    Filed 01/08/18      Pg 14 of 17     Pg ID 14



commercial purposes both now and in the future through the degradation of Plaintiffs’ land and

the soils thereon.

        61.     As a direct and proximate result of the Defendants’ negligent conduct, the

Plaintiffs, and each of them, have suffered damages in an amount to be proven at trial in excess

of Seventy-Five Thousand Dollars ($75,000.00).

        62.     Furthermore, the Defendants’ actions as described herein were willful and

malicious in that the Defendants’ conduct was carried out with a conscious disregard for the

rights of Plaintiffs and thereby warrant an assessment of punitive damages to punish the

Defendants for their egregious misconduct.

                                         COUNT V
                          Declaratory Judgment-Breach of Easement

        63.     Plaintiffs hereby incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

        64.     In conducting construction operations outside of the proscribed easement area,

including but not limited to pumping storm and ground water, and other materials, onto

Plaintiffs’ properties, Defendant Rover Pipeline, LLC has abused its easement rights, has acted

well outside the scope of any authority granted to it by the U.S. District Court for the Eastern

District of Michigan and/or the Federal Energy Regulatory Commission, and has breached the

terms of any easement from the Plaintiffs.

        65.     Defendant Rover Pipeline, LLC’s breach of the terms of any easement with the

Plaintiffs has substantially interfered with the rights of the Plaintiffs to the use and enjoyment of

their property rights.

        66.     Accordingly, Plaintiffs seek a declaratory judgment ordering that any easement on

the servient tenements of the Plaintiffs for the benefit of Rover Pipeline, LLC and/or the other



                                                -14-
     2:18-cv-10066-GCS-DRG            Doc # 1       Filed 01/08/18     Pg 15 of 17   Pg ID 15



Defendants in this action has been breached and for an award of Plaintiffs’ reasonable fees and

costs incurred in the maintenance of this action.

                                         Count VI
                         Abuse of Power and Authority and Bad Faith

       67.     Plaintiffs hereby incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

       68.     Plaintiffs state that Defendant Rover Pipeline, LLC gains its authority to use its

eminent domain power through the Federal Natural Gas Act. The purpose of that Act is to

prevent interruption of pipeline and other services across various states within the United States.

       69.     Defendants have used and abused their eminent domain power beyond what was

intended by Congress, have run roughshod over the rights of Plaintiffs as property owners, and

have damaged, trespassed, abused, harmed, and contaminated property of Plaintiffs outside of

the easement areas knowingly and/or negligently. Such actions are clearly an abuse of power by

the Defendants and the very essence of bad faith.

       70.     As a direct and proximate cause of the Defendants’ bad faith conduct, Plaintiffs

have suffered, and will continue to suffer substantial harm.

                                            Count VII
                                         Punitive Damages

       71.     Plaintiffs hereby incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

       72.     All Defendants’ acts were willful and malicious in that Defendants’ conduct was

carried out with a conscious disregard for rights of the Plaintiffs.

       73.     Defendants’ conduct thereby warrants an assessment of exemplary and/or

punitive damages against each Defendant and for each Plaintiff in an amount appropriate to




                                                -15-
     2:18-cv-10066-GCS-DRG          Doc # 1     Filed 01/08/18    Pg 16 of 17    Pg ID 16



punish the Defendants and set an example of them well in excess of Seventy-Five Thousand

Dollars ($75,000.00).

       WHEREFORE, Plaintiffs pray that judgment be entered against the Defendants, jointly

and severally, as follows:

       A. On COUNT I, a judgment in an amount in excess of Seventy-Five Thousand Dollars

           ($75,000.00) together with interest, costs and Plaintiffs’ reasonable attorney fees

           associated therewith;

       B. On COUNT II, a judgment in an amount in excess of Seventy-Five Thousand Dollars

           ($75,000.00) together with interest, costs and Plaintiffs’ reasonable attorney fees

           associated therewith;

       C. On COUNT III, a judgment in an amount in excess of Seventy-Five Thousand

           Dollars ($75,000.00) together with interest, costs and Plaintiffs’ reasonable attorney

           fees associated therewith;

       D. On COUNT IV, a judgment in an amount in excess of Seventy-Five Thousand Dollars

           ($75,000.00) together with interest, costs and Plaintiffs’ reasonable attorney fees

           associated therewith;

       E. On COUNT V a declaratory judgment holding that Defendant Rover Pipeline, LLC

           has breached the terms of any easement on Plaintiffs’ properties;

       F. On COUNT VI, a judgment in an amount in excess of Seventy-Five Thousand

           Dollars ($75,000.00) together with interest, costs and Plaintiffs’ reasonable attorney

           fees associated therewith;

       H. On COUNT VII, an award of punitive and/or exemplary damages in an amount in

           excess of Seventy-Five Thousand Dollars ($75,000.00) per Plaintiff; and




                                              -16-
     2:18-cv-10066-GCS-DRG           Doc # 1     Filed 01/08/18      Pg 17 of 17   Pg ID 17



       I. For such other and further relief as this Honorable Court deems equitable, proper, and

          just.



Dated: January 8, 2018                        Respectfully submitted,

                                              BARKAN & ROBON LTD.


                                              By:_/s/Zachary J. Murry__________
                                                     Zachary J. Murry (P73565)
                                                     1701 Woodlands Drive
                                                     Suite 100
                                                     Maumee, Ohio 43537
                                                     Phone: (419) 897-6500
                                                     Fax: (419) 897-6200
                                                     zmurry@barkan-robon.com

                                                      Attorneys for Plaintiffs




                                        JURY DEMAND

       Plaintiffs hereby demand a trial by jury on all issues so triable.

Dated: January 8, 2018                        Respectfully submitted,

                                              BARKAN & ROBON LTD.

                                              By:_/s/Zachary J. Murry__________
                                                     Zachary J. Murry (P73565)




                                               -17-
